           Case 2:11-cr-00173-KJM Document 33 Filed 01/09/12 Page 1 of 5




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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       2:11-CR-00173-KJM
                                      )
12              Plaintiff,            )       STIPULATION AND ORDER
                                      )       FOR INTERLOCUTORY SALE
13        v.                          )       OF 2004 BMW M3
                                      )
14   SUKHWINDER SINGH, and            )
     CHARAN SINGH DHILLON,            )
15                                    )
                Defendants.           )
16                                    )
17        This stipulation for interlocutory sale of the 2004 BMW M3 is
18   entered into between the United States of America, defendant
19   Sukhwinder Singh, and Petitioner Provident Credit Union, by and
20   through their respective counsel, according to the following terms:
21        1.   On or about June 1, 2011, the Court entered a Preliminary
22   Order of Forfeiture, forfeiting to the United States all right,
23   title, and interest of defendants Sukhwinder Singh and Charan Singh
24   Dhillon in the following    property:
25              a. Approximately $33,022.63 seized from Wells Fargo
                Business Management Account Number 008-727-1870, in
26              the name of Quick N’ Stop Mart,
27              b. 2004 BMW M3, VIN: WBSBR93424PK06914, License
                Number 6LAC318,
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           Case 2:11-cr-00173-KJM Document 33 Filed 01/09/12 Page 2 of 5




 1              c. A money judgment in the amount of $30,000 against
                Sukhwinder Singh, and
 2
                d. A money judgment in the amount of $30,000 against
 3              Charan Singh Dhillon.
 4        2.   Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. §
 5   853(n)(2), third parties asserting a legal interest in the above-
 6   described forfeited property are entitled to a judicial
 7   determination of the validity of the legal claims or interests they
 8   assert.
 9        3.   On August 4, 2011, Provident Credit Union filed a Verified
10   Petition of Petitioner Provident Credit Union for Ancillary Hearing.
11   Provident Credit Union asserts a claim to the 2004 BMW M3, VIN:
12   WBSBR93424PK06914, License Number 6LAC318 for the following reasons:
13              a.   On or about October 14, 2008, defendant Sukhwinder
14   Singh entered into a Promissory Note (“Note”) with Star City Motors
15   secured by the 2004 BMW M3, VIN: WBSBR93424PK06914 ("vehicle"), in
16   the principal amount of $27,298.15.      The length of time and payment
17   provisions of this loan were: six years, 5.5%, 71 monthly payments
18   of $446.09 and a final payment of $445.68.
19              b.   On October 16, 2008, Provident Credit Union paid off
20   Star City Motors in full, and became the lender to defendant
21   Sukhwinder Singh for the vehicle.       Defendant Sukhwinder Singh is
22   presently in default on the loan and has been continuously since
23   March 15, 2011.
24        4.   The parties herein desire to settle the petition of
25   Provident Credit Union regarding its interest in the vehicle.         The
26   United States of America agrees that upon interlocutory sale of the
27   vehicle pursuant to an order of the court, or upon entry of a Final
28   Order of Forfeiture forfeiting the vehicle to the United States and


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           Case 2:11-cr-00173-KJM Document 33 Filed 01/09/12 Page 3 of 5




 1   sale of the vehicle, the United States will not contest payment to
 2   petitioner Provident Credit Union from the proceeds of sale the
 3   following:
 4                a.   In full and final satisfaction of its Note with
 5   defendant Sukhwinder Singh, a sum of $17,823.67, less any principal
 6   payments made between July 7, 2011, and the date of payment; plus
 7   interest on the unpaid principal sum at the contractual (not
 8   default) rate.     This amount includes principal in the amount of
 9   $17,823.67 and interest in the amount of $346.46.         Interest will
10   continue to accrue at a rate of $2.68 per diem from July 7, 2011.
11   Reasonable attorney’s fees in an amount not to exceed $1,300.00.
12   The exact amount to be paid to petitioner shall be determined at the
13   time of payment.     This settlement satisfies the petition filed by
14   Provident Credit Union on August 4, 2011.
15        5.   Petitioner Provident Credit Union releases plaintiff United
16   States of America and its servants, agents, and employees and all
17   other public entities, their servants, agents, and employees, from
18   any and all liability arising out of or in any way connected with
19   seizure, forfeiture, and sale of the vehicle.        This is a full and
20   final release applying to all unknown and unanticipated injuries,
21   and/or damages arising out of said seizure, forfeiture, and sale, as
22   well as to those now known or disclosed.       The parties to this
23   agreement waive the provisions of California Civil Code § 1542 which
24   provides that a general release does not extend to claims which the
25   creditor does not know or suspect to exist in its favor at the time
26   of executing the release, which if known by it must have materially
27   affected the settlement.
28        6.   In furtherance of the interlocutory sale, the parties agree


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              Case 2:11-cr-00173-KJM Document 33 Filed 01/09/12 Page 4 of 5




 1   to execute promptly any documents that may be required to complete
 2   the interlocutory sale of the vehicle.
 3         7.   The U.S. Secret Service, or its designee, shall sell the
 4   vehicle in the most commercially feasible manner, as soon as
 5   reasonably possible, for the maximum price.
 6         8.   Upon the sale of the vehicle, the net sale proceeds, less
 7   any payment to satisfy Provident Credit Union’s loan, and less any
 8   storage fees, maintenance fees, disposal costs and auctioneer fees,
 9   will be deposited in the U.S. Secret Service Suspense Account as the
10   substitute res in this case, and held pending further order of the
11   Court.
12         9.   Provident Credit Union understands and agrees that the
13   United States reserves the right to void this agreement if, before
14   payment of the lien, the U.S. Attorney obtains new information
15   indicating that the lien holder is not an “innocent owner” or “bona
16   fide purchaser” pursuant to the applicable forfeiture statutes.          The
17   U.S. Attorney also reserves the right, in its discretion, to
18   terminate the forfeiture at any time and release the property.           In
19   either event, the Government shall promptly notify the lien holder
20   of such action.      A discretionary termination of forfeiture shall not
21   be a basis for any award of fees.
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              Case 2:11-cr-00173-KJM Document 33 Filed 01/09/12 Page 5 of 5




 1           10.   All parties are to bear their own costs and attorneys'
 2   fees.
 3   Dated: 12/23/11                            BENJAMIN B. WAGNER
                                                United States Attorney
 4
 5                                              /s/ Jared C. Dolan
                                                JARED C. DOLAN
 6                                              Assistant U.S. Attorney
 7
 8   DATED: 12/21/11                            /s/ Jonathan Seigel
                                                JONATHAN SEIGEL, ESQ.
 9                                              Attorney for Petitioner
                                                Provident Credit Union
10
11
12   DATED: 12/22/11                            /s/ Sukhwinder Singh
                                                SUKHWINDER SINGH
13                                              Defendant
14
15   DATED: 12/22/11                            /s/ Douglas Srulowitz
                                                DOUGLAS SRULOWITZ
16                                              Attorney for Defendant Sukhwinder
                                                Singh
17
                                                (Signatures retained by attorney)
18
19
20           IT IS SO ORDERED.
21   DATED:    January 6, 2012.
22
                                                UNITED STATES DISTRICT JUDGE
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